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        A 0 199.4 (Rev. 3/87] Order Setting Condllions olRelease                                                      Page I of&ages




                                 Uniteb &ate$ Bietrict Court

                      UNITED STATES OF AMERICA                     ~b~



              n                                                                                 OF RELEASE


                         E
                                                                                Case Number.
                                                                                               ps@g-
                                                                                                  & /&/--6u

                  IT IS ORDERED that the release of the defendant is subject to the following conditions:

                      ( I ) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
                             case.

                      ( 2 ) The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing of any
                            change in address and telephone number.

                      (3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

                          imposed as directed. The defendant shall




                                        Release on Personal Recognizance or Unsecured Bond
                  1T IS FURTHER ORDERED that the defendant be released provided that:

         (   J )(4) The defendant promises to appear ar all proceedings as required and to surrender for service of any sentence
                          imposed.

         (        )   (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of
                                                                                                     dollars ($                          1
                          in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




WHITE C O P Y - COURT           YELLOW - DEFENDANT                 BLUE - U S ATTORNEY    PINK - U . S MARSHAL       GREEN   - PRETRIAL SERVICES
                          Case 1:05-cr-00161-LJO Document 366 Filed 03/31/06 Page 2 of 3
NEGRETE, Jose                        ADDITIONAL CONDITIONS OF RELEASE
05-161 OWW

           Upon finding t h a t release b y o n e of the above methods will not hy itself reasonably assure t h e a p p e a r a n c e of thedefendant
a n d the safety of other persons a n d t h e community, it is F U R T H E R O R D E R E D t h a t the release of t h e defendant is subject to the
conditions m a r k e d below:

( )       (6)        T h e defendant is placed in the custody of:

                     Name of person or organization

w h o agrees (a) to supervise the defendant in accordance with all conditions of release,
(b) to use every effort to assure the appearance of t h e defendant a t all scheduled c o u r t proceedings, a n d (c) to notify the c o u r t
immediately in t h e event the defendant violates a n y conditions of release o r disappears.

                     SIGNED:
                                           CUSTODIAN O R P R O X Y

(X)       (7)        The defendant shall:
          (XI        (a)      maintain or activelv seek emplovment, and provide proof thereof to the PSO upon request
          1~,)
          (XI
                     lb)
                     ~~,
                     (0
                              maintain or commence an educational oroerm.
                                              ~     ~




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                                                                       on h ~ personal
                                                                              s        assoc.arionb, plarr ot aboac. ur irdkrt:
                               Res~dsat a rss~Jcnccannrn\ed h\ Prilr~dlScn.ccs. and not rnokc or bc dbscni trorn th~brcr~dcnccior more than 24 hrs.
                              without prior approval of PSO: travel restrieted to Fresno Countv. unless otherwise approved in advance bv PSO.
          (XI        (dl      x\o.J XI.:t~ntail mllh the i o l l ~ u i nname?
                                                                          ~     pcrs~ns,whd arc c~nsidrrrJc~thcrallcrrJ 5 ~climsor ~ o t c n t ~rr~tncss?~.
                                                                                                                                                al
                              Oscar Ros~lcs.G~ld;lKowlcs.I.conarj         IlcreJi3. Anthon\ Kocha Pedrr~Kumeru. \lel~bs;lKomeru. K1:h;lr.I Rsnlsr~aI'rann
                               Wync, Ccsar Isalas (innlalex-Eamnrs. Kobcn bar sol^. Anlhdn\ Balwar, Kcubrn Ho-ston. Juan Cns\o)% K\an (iome~,
                               Marvin Proxmire. Radames DeLaHova. Juan Treio. and Leo~oldoArenas. unless in the presence of eounsel or otherwise
                               a~orovedin advance bv the PSO.
                               repon on a regular hdc~rlo the ro.low~n<aecncu:
                               Prclrtal Scr%iccsnnd ct1mp.r w~ththc~rnlcs and rerulat.ons.
                              compl) m.lh :nc fol owing curicw
                              refrain 6om possessing a firearm, destructive device, or other dangerous weapon.
                              refrain 6om excessiveuse ofalcohol, and any use or unlawful possessiot~ofanarcotic drug and other controlled substances
                              defined in 21 USC 4802 unless prescribed by a licensed medical practitioner.
                              undcrgo medical or psychiatric treatment andlor remain in an institution, as follows: Including treatment for drug andor
                              alcohol dependencv,   .. and .Day. for costs as approved
                                                                               ..       by the PSO.
          (XI        ti)      execute a bond or an azreement to forfeit upon failing to appear or failure to abide by anv ofthe conditions of release. the
                              followine sum of money or desimated urooertv: Total eauitv DroDertv bond (not less than $50.000) secured bv equitv in
                              DroDertv owned bv Jose Perez.
                              post with the court the following indieia or ownership of the above-described property, or the following amount or
                              percentage of the above-described money:
                              act within 30 days to applv for legal residency in the United States.
                              return to custody each (week)day as of o'clock after being released each (week)day as of o'clock for employment,
                              schooling, or the following limited purpose(s):
                              surrender any passport to the Clerk, United Stater District Court.
                              obtain no passport during the pendency of this ease.
                              report in oerson to the Pretrial Scrvices Agency on the first workine day followine your release from custody.
                              submit to drug andlor alcohol testing as directed by PSO.
                              report any prescriptions to PSO within 48 hours ofreceipt.
                              participate inone ofthe following home confinement program components and abide by all the requirements of the program
                              which ( )will or ( ) will not include electronic monitoring or other location verification system.
                              ( ) (i) Curlew. You are restricted to your residence every day ( ) from                           to                 , or
                                            ( ) as directed by the Pretrial Services office or supervising officer, or
                              ( ) (ii) Home Detention. You are restricted to your residenee at all times except for employment; educalion;
                                            religious services; or mental health treatment; attorney visits; court appearances; court-ordered obligations;
                                            or other activities as pre-approved by the Pretrial Services office or supervising offieer; or
                              ( ) (iii) Home Incarceration. You are restrieted to your residence at all times except for medical needs or trealment,
                                           religious serviees, and eourt appearances pre-approved by the Pretrial Services office or supervision officer.




(Copies la: Defendant, US Attorney, US Marshal, Pretrial Services)
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                                            ~   ~                 ..    -. .     ~   ~.                            .        ~~   ~




                                                           Advice of Penalties and Sanctions

A/       (TO THE DEFENDANT:
"\acPb"c       YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

               A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest,
          a revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment,
          a fine, or both.
               The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment of
          not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a mis-
          demeanor. This sentence shall be in addition to any other sentence.
               Federal law makes it a crime punishable by up to 10 years of imprisonment, and a $250,000 fme or both to obstruct a criminal
          investigation. It is a crime punishable by up to ten years of imprisonment, and a $250,000 fme or both to tamper with a witness, vic-
          tim or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate a
          witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly
          more serious if they involve a killing or attempted kining.
               If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
          you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
               ( I ) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined
 I                   not more than $250,000 or imprisoned for not more than 10 years, or both;
               (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not
                     more than $250,000 or imprisoned for not more than five years, or both;
               (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
               (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
               A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense.
          In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                            Acknowledgement of Defendant
               I acknowledge that I am the defendant in this case and that I am aware of the conditions of releae. I promise to obey all condi-
          tions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions
          set forth above.




          /
                                                                                            / City and State

                                                      Directions to United States ~ a r s h i l
                                                                                                                       I-                        -
     (   1 ) The defendant is ORDERED released after processing.
     (      ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer that the
               defendant has posted bond andlor complied with all other conditions for release. The
                                                me and place specified, if still in cus




                                                                                                  SANDRA M     .
                                                                                                             S ~ D E ,R              ULS.
                                                                                                                                MAGISTRATE JUDGE
                                                                                                       Name and Title of Judicial Officer




         WHITE COPY - COURT           YELLOW - DEFENDANT               BLUE - US. A T O R N E Y                                             GREEN - PRETRIAL SEWICES
